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    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                             WESTERN DIVISION
   11 SECURITIES AND EXCHANGE                  Case No. CV-14-07249-CJC-FFM
      COMMISSION,
   12                                          ORDER DISCHARGING
               Plaintiff,                      RECEIVER AND CLOSING
   13                                          RECEIVERSHIP
          v.
   14                                          Ctrm:       9B
      NATIONWIDE AUTOMATED                     Judge:      Hon. Cormac J. Carney
   15 SYSTEMS, INC.; JOEL GILLIS; and
      EDWARD WISHNER,
   16
               Defendants,
   17
      OASIS STUDIO RENTALS, LLC;
   18 OASIS STUDIO RENTALS #2, LLC; and
      OASIS STUDIO RENTALS #3, LLC,
   19
               Relief Defendants.
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    1              The Court having considered the Final Declaration of Aaron J. Kudla
    2 ("Receiver"), the Court-appointed permanent receiver for Defendant Nationwide
    3 Automated Systems, Inc. ("NASI"), Relief Defendants Oasis Studio Rentals, LLC,
    4 Oasis Studio Rentals #2, LLC, and Oasis Studio Rentals #3, LLC ("Relief
    5 Defendants"), and their subsidiaries and affiliates (collectively "Receivership
    6 Entities"), regarding the completion of receivership tasks and use of reserve funds
    7 ("Receiver's Final Declaration"), and good cause appearing therefor, IT IS HEREBY
    8 ORDERED as follows:
    9              1.      The Receiver's Final Declaration is approved;
   10              2.      The Receiver is authorized to pay an additional $30,120.00 in Receiver
   11 fees above and beyond the Court-approved fee estimate that was provided in his
   12 Motion to Conclude (Dkt. 420);
   13              3.      After such payment is made, the Receiver may complete the transfer all
   14 cash remaining in the receivership estate to the United States Treasury, as provided
   15 for in the Order to Conclude (Dkt. 428).
   16              4.      The Receiver is discharged of all duties under the Temporary
   17 Restraining Order and Orders (1) Freezing Assets; (2) Prohibiting the Destruction of
   18 Documents; (3) Granting Expedited Discovery; (4) Requiring Accountings; and (5)
   19 Appointing a Temporary Receiver, and Order to Show Cause re Preliminary
   20 Injunction and Appointment of a Permanent Receiver entered by this Court on
   21 September 30, 2014 ("TRO") (Dkt. No. 17), the Preliminary Injunction and Orders
   22 (1) Freezing Assets; (2) Prohibiting the Destruction of Documents; (3) Requiring
   23 Accountings; and (4) Appointing a Receiver entered by this Court on October 29,
   24 2014 ("Preliminary Injunction Order") (Dkt. No. 42), and subsequent orders of the
   25 Court. Pursuant to the discharge, the Receiver is released from any and all claims
   26 and liabilities associated with the receivership, the receivership entities, and the
   27 individual defendants named in this action.
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    1              5.      All actions taken by the Receiver and his professionals in performing
    2 the Receiver's Court-ordered duties under the TRO, Preliminary Injunction Order,
    3 and subsequent orders of the Court are approved and ratified.
    4              6.      The Receiver is discharged from any further responsibility for payment
    5 of liabilities of the Receivership Entities.
    6              7.      The receivership is closed.
    7              8.      Jurisdiction over all disputes, claims, and causes of action arising from
    8 or relating to this receivership case is reserved in this Court.
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        Dated: January 20, 2022
   12                                                    Hon. Cormac J. Carney
                                                         Judge, United States District Court
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   15 CC: FISCAL
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